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16
17                                 UNITED STATES DISTRICT COURT

18                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                        SAN FRANCISCO DIVISION

20    FEDERAL TRADE COMMISSION,                          Case No. 3:23-cv-02880-JSC

21           Plaintiff,                                  DEFENDANTS’ STATEMENT OF
                                                         WITNESSES AND EVIDENCE FOR JUNE
22    v.                                                 22, 2023, PURSUANT TO COURT ORDER
                                                         (ECF NO. 170)
23
      MICROSOFT CORPORATION and
24    ACTIVISION BLIZZARD, INC.,
                                                         Dept.:    Courtroom 8—19th Floor
25           Defendants.                                 Judge:    Honorable Jacqueline S. Corley
26
27
28
     DEFS.’ STATEMENT OF WITNESSES AND                                 CASE NO. 3:23-CV-02880-JSC
     EVIDENCE FOR JUNE 22, 2023
          Case 3:23-cv-02880-JSC Document 174 Filed 06/21/23 Page 2 of 3




 1          Pursuant to the Court’s Order Following June 21, 2023 Status Conference (ECF No. 170)

 2   (“Order”), Defendants Microsoft Corp. (“Microsoft”) and Activision Blizzard, Inc. (“Activision”) write

 3   to inform the Court that Defendants will call Matt Booty and Sarah Bond as witnesses on Thursday, June

 4   22, 2023. Defendants understand that Plaintiff Federal Trade Commission (“FTC”) intends to call Pete

 5   Hines as a witness.

 6          Defendants intend to use the following exhibits with these witnesses:

 7        Witness             Exhibit       Declaration in Support of Cross-Reference
                                            Sealing the Exhibit 1
 8        Matt Booty            RX5045                  N/A                 N/A
 9        Sarah Bond            RX1184            ECF No. 150 at 45                  N/A
10                              RX1196                   N/A                  ECF No. 111, Ex.
11                                                                                   70
12                              RX1211            ECF No. 150 at 47                  N/A
13                              RX1212                   N/A                  ECF No. 111, Ex.
14                                                                                   37
15                              RX3019            ECF No. 150 at 46           ECF No. 111, Ex.
16                                                                                   38
17                              RX3024                   N/A                         N/A
18                              RX3025                   N/A                         N/A
19                              RX3027            ECF No. 150 at 48                  N/A
20
                                RX3028                   N/A                         N/A
21
                                RX5044                   N/A                         N/A
22
          Pete Hines              N/A                    N/A                         N/A
23
24
25
26
27
            1 Defendants do not seek to seal the exhibits that are listed here without citation to a supporting
28   declaration.
     DEFS.’ STATEMENT OF WITNESSES AND                                           CASE NO. 3:23-CV-02880-JSC
     EVIDENCE FOR JUNE 22, 2023
          Case 3:23-cv-02880-JSC Document 174 Filed 06/21/23 Page 3 of 3




 1   Dated: June 21, 2023                                  Respectfully submitted,

 2
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28
     DEFS.’ STATEMENT OF WITNESSES AND                 2                       CASE NO. 3:23-CV-02880-JSC
     EVIDENCE FOR JUNE 22, 2023
